          Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 1 of 25




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                                      IN THE DISTRICT COURT
12                              FOR THE NORTHERN MARIANA ISLAr~J?S

13   DREAM PACIFIC AVIATION SERVICES,            )    Civil Action No. 18-
     HONG KONG, LTD.; EVELEN U.S.A.              )
14   CORPORATION, dba IMPRESSION TOUR;           )
     BRIGHT INVESTMENT, LLC, dba SAIPAN
15   RESTAURANT; RIONDA COMPANY, LTD.,
                                                 )
     dba NEW SHIN RESTAURANT; BW                 )
16   INTERNATIONAL, INC., dba BW CAR             )
     RENTAL; C~ XING, KONG FAN.JING, LI          )    COMPLAINT
17   HUAKUN, LI XIUXIA, LL&NG WEI, LUO           )
     FENG, MENG ME, QIAN DONGYUAN, QIAN          )
18   YUTIAN, 5111 SONGZUEN, SONG                 )
19
     GUANGSEN, WANG FANG, WANG                   )
     M]NGQIANG, WANG QL&NDUO, WANG               )
     YAMING, WANG YELAN, YANG SHIPING,           )
20
     ZHANG GUIFENG, ZHANG LIN, ZIIANG
     SHUANGLI, and ZHAO JINGJTAN,
                                                 )
21                                               )
                      Plaintiffs,
                                                 )
22                                               )
23                       vs.
                                                  )
                                                  )
24   FRANK J. VISCONTI; NICOLAS FINAZZO;
                                                  )
     ANDREW LOTTER; TEM ENTERPRISES,              )
25
     INC., dba XTRA AIRWAYS; AERSALE, INC.;       )
     AERLINE HOLDINGS, LLC; CARLTON               )
26
     CONKLING; and JOHN DOES 1-10,                )
27                                                )
                       Defendants.                )
28
          Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 2 of 25




 1          COME NOW Plaintiffs, by and through counsel, and hereby complain against th

2    Defendants, jointly and severally, as follows:

 3
                                        NATURE OF THE ACTION
 4
     1.     This is an action for damages arising from a scheme to defraud Plaintiffs in connectio
 5

 6   with a plan to bring vacationing tourists from China to Saipan via charter aircraft        —   a plan tha
 ~   Defendants pretended to participate in, but in fact deliberately sabotaged by failing to take th

 8   steps necessary for it to succeed, even as Defendants induced Plaintiffs to believe in, rely on,

 ~   and/or invest in the continuing viability of the plan, all to Plaintiffs’ injury as set forth herein.

10   2.      As more fully alleged below, Defendants engaged in a fraudulent scheme to damag

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     Plaintiffs through acts and omissions which violated federal laws and regulations, as well as
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     the statutory and common law of the CNMI. Defendants knowingly and willfully conspire
13

14   and agreed among themselves to carry out this fraudulent scheme, or, in the alternative, late
15   joined the ongoing fraudulent scheme, and fully ratified its purpose and all past actions taken•

16   its furtherance.
17   3.      Various acts taken by Defendants herein were accomplished by or through the use o

     interstate and international telephone wires, and other instrumentalities of interstate an

     foreign commerce; and such acts have exerted, and will continue to exert, a substantia
20

21   impact on the interstate and foreign commerce of the United States. Plaintiffs have bee

22   injured in an amount in excess of seventy-five thousand dollars ($75,000.00), exclusive o

23   interest and costs.

24   4.      Plaintiffs are residents of Saipan, CNMI, and the People’s Republic of China.

25   Defendants, at all relevant times, have transacted business and otherwise have been found

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     within the District of the Northern Manana Islands for purposes of the junsdiction of this
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     Court, service of process and venue. Moreover, many of the acts andior transactions which
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                                                          2
          Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 3 of 25




 1   are hereinafter alleged as constituting material aspects of the Defendants’ violations an

 2   offenses occurred within or were directed toward the District of the Northern Marian

 3
     Islands.
 4
                                                  PARTIES
 5

 6                                        A. The Business Plaintiffs

 ~   5.     Plaintiff Dream Pacific Aviation Services, Hong Kong, Ltd. (hereinafter “Drea

 8   Pacific”) is a corporation organized and existing under the laws of the Hong Kong Specia

 ~   Administrative Region of the People’s Republic of China, with its principal place of business i

10   Shanghai. Dream Pacific was established to arrange air transportation for tourists to fly round

11
     trip from multiple locations in China to various international destinations, including Saipan.


13   6.     Plaintiff Evelen U.S.A. Corporation, dba Impression Tour, is a corporation organized an

14   existing under the laws of the Commonwealth of the Northern Mariana Islands, with its principa
15   place of business on Saipan. Impression Tour was retained by Dream Pacific to assist it i

16   providing for the accommodation and entertainment of the Chinese tourists whom Dream Pacifi
17   brought and intended to bring into Saipan in 2017 and 2018 via XTRA Airways.

18
     7.         Plamtiff Bright Investment, LLC, dba Saipan Restaurant, is a limited liability compan
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     organized and existing under the laws of the Commonwealth of the Northern Mariana Islands,
20

21   with its principal place of business on Saipan.         Saipan Restaurant had agreements wit

22   Impression Tour to accommodate Chinese tourists being transported to Saipan by Dream Pacifi

23   via XTRA Airways in 2017 and 2018.

24   8.         Plaintiff Rionda Company, Ltd., dba New Shin Restaurant, is a corporation organized

25   and existing under the laws of the Commonwealth of the Northern Mariana Islands, with its

26
     principal place of business on Saipan. New Shin Restaurant had agreements with Impression
27

28

                                                       3
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 4 of 25




 1   Tour to accommodate Chinese tourists being transported to Saipan by Dream Pacific via XTRA

 2   Airways in 2017 and 2018.

 3
     9.      Plamtiff BW International, Inc., dba BW Car Rental, is a corporation organized and
 4
     existing under the laws of the Commonwealth of the Northern Mariana Islands. BW Car Rental
 5

 6   had agreements with Impression Tour to accommodate Chinese tourists being transported tc

 ~   Saipan by Dream Pacific via XTRA Airways in 2017 and 2018.

 8   10.     Dream Pacific, Impression Tour, Saipan Restaurant, New Shin Restaurant and BW Cai

 ~   Rental are hereinafter sometimes referred to collectively as the “Business Plaintiffs.”

10
                                         B. The Tourist Plaintiffs
11
     11.     The following Plaintiffs (hereinafter sometimes referred to collectively as the “Tourisi
12
     Plaintiffs”) are citizens and residents of the People’s Republic of China: 1) Cui Xing; 2) Kon
13

~    Fanjing; 3) Li Huakun; 4) Li Xiuxia; 5) Liang Wei; 6) Luo Feng; 7) Meng Jie; 8) Qiañ

15   Dongyuan; 9) Qian Yutian; 10) Shi Songzhen; 11) Song Guangsen; 12) Wang Fang; 13) Wang
16   Mingqiang; 14) Wang Qianduo; 15) Wang Yaming; 16) Wang Yelan; 17) Yang Shiping; 18)

17   Zhang Guifeng; 9) Zhang Lin; 20) Zhang Shuangli; and 21) Zhao Jingjian.

18
     12.     The followmg Tourist Plamtiffs (hereinafter the “Stranded Tounst Plamtiffs”) traveled
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     from China to Saipan via XTRA Airways prior to November 4, 2017, and were scheduled to
20

21   return to China via XTRA Airways on or after that date, but instead were abandoned by XTRA

22   on Saipan: 1) Li Xiuxia; 2) Luo Feng; 3) Meng Jie; 4) Shi Songzhen; 5) Song Guangsen; 6)

23   Wang Fang; 7) Wang Mingqiang; 8); Wang Yaming; 9) Wang Yelan; 10) Zhang Lin; and 11)

24   Zhao Jingjian.

25   13.     The following Plaintiffs (hereinafter the “Intending Tourist Plaintiffs”) had bookec

26
     and/or paid for flights on XTRA Airways charter flights from Chma to Saipan and back tc
27
     China, which were scheduled for the time period between November 4, 2017, and December 10.
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                                                       4
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 5 of 25




 1   2017, but which never flew due to XTRA’s abandonment of the Saipan routes: 1) Cui Xing; 2)

 2   Kong Fanjing; 3) Li Huakun; 4) Liang Wei; 5) Qian Dongyuan; 6) Qian Yutian; 7) Yan

 3
     Shipmg; 8) Wang Qianduo; 9) Zhang Guifeng; and 10) Zhang Shuangli.
 4
                                            C. The Defendants.
 5

 6   14.     Defendant Frank J. Visconti is a citizen and resident of the State of Florida who, at al

 ~   times relevant to this action, was President and Chief Executive Officer of XTRA Airways.

 8   Defendant Visconti personally authorized, directed and actively participated in the fraudulen

 ~   and wrongful conduct committed against Plaintiffs herein.

10   15.     Defendant Nicolas Finazzo is a citizen and resident of the State of Florida who, at al

11
     times relevant to this action, was a director of XTRA Airways and AerSale, Inc., Chie
12
     Executive Officer of AerSale, and a member of AerLine Holdings, LLC. Defendant Finazz
13

14   personally authorized, directed and actively participated in the fraudulent and wrongful conduc

15   committed against Plaintiffs herein.
16   16.     Defendant Andrew Lotter is, on information and belief, a citizen and resident of the Stat
17   of Florida who, at all times relevant to this action, was Chief Operating Officer and Director o

18
     Operations for XTRA Airways. Defendant Lotter personally authorized, directed and activel
19
     participated in the fraudulent and wrongful conduct committed against Plaintiffs herein.
20

21   17.     Defendant TEM Enterprises, Inc., d/b/a XTRA Airways, is a corporation organized an

22   existing under the laws of the State of Nevada, with its principal place of business in Cora

23   Gables, Florida.

24   18.     Defendant AerSale, Inc., is, on information and belief, a corporation organized and

25   existing under the laws of the State of Florida, with its principal place of business in Coral

26
     Gables, Florida. At all times pertment to this action, AerSale has operated and controlled XTRA
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                                                      5
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 6 of 25




1    Airways. AerSale was the registered owner of the B-737-800 aircraft that XTRA Airways use

2    for the Saipan/China flights described in this action.

3
     19.     Defendant AerLine Holdmgs, LLC, is, on information and belief, a limited liabilit
 4
     company organized and existing under the laws of the State of Delaware, with its principal plac
 5

 6   of business in Coral Gables, Florida. AerLine Holdings is the owner and parent corporatio
     owner of XTRA Airways.

 8   20.     Defendant Canton Conkling is, on information and belief, a citizen and resident of th

 ~   State of Texas.    At all times relevant to this action, he was employed as a pilot by XT

10   Airways, and served as captain of several XTRA Airways flights between Saipan and China. H

11
     was aware of, or willfully and culpably indifferent to, the fact that the aircraft used for suc


13   flights, including flights on which he acted as captain and pilot, was not adequate for it

14   purposes, that it was systematically operated in violation of controlling aircraft safety rules an
15   regulations, including but not limited to ETOPS regulations, and that such use was unsustainabl

16   over the long term, and would inevitably doom the Dream Pacific/XTRA Airways Saipan-Chin
17   charter project if persisted in. He nevertheless failed to advise Plaintiffs of this ongoing pattern

     of violations, or to take any steps to correct such violations or prevent them from recurring, but

     rather knowingly participated in and profited from them for so long as he was able, and, in so
20

21   doing, endorsed, ratified and joined the conspiracy alleged against Plaintiffs herein.

22   21.     Various other corporations and individuals, named herein as Does 1 through 10, have

23   participated as co-conspirators in the offenses charged herein and have engaged in conduct and

24   made statements in furtherance thereof. The true names and capacities, whether individual.

25    corporate, associate, or otherwise, of the Defendants being named as Does 1 through 10~

26
      inclusive, are unknown to Plamtiffs at this time.       Plamtiffs will seek leave to amend this
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      Complaint at such time as they become aware of the true names and capacities of Does 1 througl
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                                                        6
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 7 of 25




1    10, inclusive. Plaintiffs are informed and believe, and on that basis allege, that each of th

2    fictitiously named Defendants is responsible for the occurrences herein alleged, and tha

3
     Plaintiffs’ injuries and damages as alleged herein were proximately caused by those Defendants.
 4
     22.     Plaintiffs are informed and believe, and on that basis allege, that each Defendant
 5

 6   including each Defendant sued under a fictitious name, was the agent, servant, employee,

 ~   successor, co-conspirator, alter ego, joint employer and/or integrated enterprise of each of th

 8   other Defendants, and at all relevant times acted within the scope of such relationship, within th

 ~   knowledge and/or under the direction and control of the other Defendants, and pursuant to and i

10   furtherance of the fraudulent scheme alleged herein, and is jointly obligated with the remainin

11
     Defendants, and each of them. Each Defendant participated in, approved or ratified the unlawfu
12
     acts and omissions of other Defendants complained of herein, and all of the acts and omission
13

14   complained of herein are attributable to all Defendants. Whenever and wherever reference i

15   made in this Complaint to any act by a Defendant or Defendants, such allegation and referenc
16   shall be deemed to mean the acts, and failures to act, of each Defendant acting individually,
17   jointly and severally, including all Defendants sued under fictitious names.

18
     23.     Defendants have combined and conspired for the purpose of financially benefitin
19
     themselves and other Defendants at the expense of and to the detriment of Plaintiffs.
20
                                        JURISDICTION AND VENUE
21

22   24.     This Court has original subject matter jurisdiction over this case pursuant to 48 U.S.C.     §
23    1822 and 28 U.S.C.   §   1332, based on diversity of citizenship.

24   23.     This Court also has original subject matter jurisdiction pursuant to 28 U.S.C.      §   1331

25    (federal question) and 28 U.S.C.    §   1367 (supplemental jurisdiction).

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                                                           7
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 8 of 25




1    24.     This Court also has original subject matter jurisdiction pursuant to 18     U.S.C. §      1964(c)

2    which provides that any person injured in his business or property by reason of a violation of 18

3
     u.s.c. §   1962 may sue therefor m any appropriate United States district court.
 4
     25.     Venue is proper in this Court under 28   U.S.C. § 139 l(b)(2) or (3) and   18   U.S.C. §   1965.
 5

 6                                       DEMAND FOR JURY TRIAL

 ~   26.     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs hereby dernan

 8   a jury trial on all issues triable by a jury.

                                                     FACTS
10                  A. Dream Pacific and XTRA Agree to a Plan for Charter Flights.

11
     27.     In 2016 and 2017, Dream Pacific engaged in negotiations with XTRA Airways fo


13   XTRA to provide charter air services between Saipan and China for the purpose of transportin

14   Chinese tourists visiting Saipan. These negotiations took place via telephone and e-mail betwee
15   points in the United States and points in China, as well as in person.

16   28.     Pursuant to these negotiations, Dream Pacific and XTRA entered into an Aircraft Charte
17   Agreement on or about March 18, 2017.

18
     29.     Dream Pacific entered mto the Agreement m good faith, mtendmg to perform, an
19
     expecting XTRA to do the same.
20

21   30.     In the Aircraft Charter Agreement, XTRA agreed to make one aircraft, with crew

22   available to Dream Pacific for charter flights according to the following schedule: three weekl

23   flights Saipan and Nanjing; three weekly flights between Saipan and Tianjin; and one weekly

24   flight between Saipan and Changsha. XTRA guaranteed the availability of the plane and crew

25   for a minimum of 230 hours per month, and Dream Pacific agreed to pay for the use of the plane

26
      for the same minimum number of hours, at an agreed rate, regardless of whether           it   was actually
27
     used for such hours, and regardless of the number of passengers on the flight.
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                                                        8
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 9 of 25




1    31.     The Aircraft Charter Agreement required XTRA:

2            (1) to be fully authorized and licensed to operate the aircraft for all the purposes required
             by the Charter Agreement;

 4           (2) to ensure that the aircraft were in serviceable condition, fit for the purpose intended,
             and fully equipped for the commercial airlines operations they undertook on behalf ol
             Dream Pacific;
 6           (3) to ensure that the aircraft were maintained and operated in accordance with thc
 7           requirements of applicable aviation authorities;

 8           (4) to provide duly licensed and approved flight crews;

             (5) to be responsible for applying for and using commercially reasonable efforts to obtair
             any authorizations and permits needed from governmental authorities necessary for thc
             performances of XTRA Airways’ charter transportation services.
11
             (6) to undertake all commercially reasonable efforts to return any of its involved aircra
12           to a serviceable condition should its aircraft become unserviceable;

13           (7) to provide a substitute aircraft in the event of cancellation, interruption or a dela

14           beyond 48 hours of a charter flight as a result of mechanical considerations;
15           (8) to arrange and manage direct operating costs including ground handling, landing an
             airport charges, and deposits; and
16

17           (9) to refund to Dream Pacific charges for each cancelled flight.

18   32.     XTRA at all times represented that any of its aircraft used for charter operations unde

19   the Aircraft Charter Agreement would be safe, properly registered, adequately staffed, and woul

20   have all the permits, licenses, certifications and approvals necessary and required by al

21   applicable governmental agencies to transport passengers between China and Saipan on the

22
     mtended routes, mcludmg ETOPS certification.
23
     33.     Pursuant to the Aircraft Charter Agreement, and in reliance on the promises and
24

25   representations of Defendants, Dream Pacific deposited one million US dollars ($1,000,000.00)

26   into an escrow account to secure aircraft availability. The said sum of one million dollars was
27   wired from China to XTRA Airways’ bank account at the Wilmington Savings Fund Society,

28    FSB, in Wilmington, Delaware, on or about March 31, 2017.
                                                        9
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 10 of 25




 1                         B. Defendants Conspire to Subvert the Agreement

 2   34.     At some point after entering into the Aircraft Charter Agreement, but before charte

 3
     flights commenced pursuant thereto, Defendant Visconti, Frnazzo and Lotter determined tha
 4
     XTRA’s contractual relationship with Dream Pacific under the Aircraft Charter Agreement wa
 5

 6   dissatisfactory and disadvantageous to XTRA, and therefore resolved and conspired together        t

 ~   terminate that relationship by fraudulent means.

 8   35.     Pursuant to this scheme, Defendants Visconti, Finazzo and Lotter, directly or througi

 ~   witting or unwitting agents, encouraged and induced Dream Pacific to agree to an amendment t

10   the Aircraft Charter Agreement, whereby the charter project would ostensibly be expanded t

11
     include a second plane and additional flights and destinations, requiring additional investment
12
     and commitments by Dream Pacific. In fact, however, from the beginning, Defendants Visconti
13

14   Finazzo and Lotter intended the expanded charter project to fail and to blame Dream Pacific fo
15   its failure. They had no intention of XTRA performing the amended agreement, and deliberatel

16   failed to take several steps necessary to its success, including the provision of a second plane, th
17   ETOPS certification of the first plane, and the securing of necessary government approval for th

18
     additional routes.
19
     36.      On or about August 15, 2017, Dream Pacific and XTRA executed a document style
20

21   “Addendum 1.” Addendum 1 amended the original Aircraft Charter Agreement by providing fo

22   two aircraft rather than one, and by changing the schedule of charter flights to include three

23   weekly flights between Saipan and each of four cities in China: Nanjing, Tianjin, Wuhan and

24   Shenzhen. Under Addendum 1, one plane would begin flying the Nanjing and Tianjin routes in

25   late September 2017, while the second plane would begin flying the Shenzhen and Wuhan routes

26
     in late October 2017. The minimum monthly hours were set at 230 hours per plane.
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           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 11 of 25




 1   37.     Dream Pacific entered into Addendum 1 in good faith, intending to perform, an

 2   expecting XTRA to do the same. XTRA, however, did not enter into Addendum 1 in good faith,

 3
     but rather with fraudulent intent, and with the present intent not to perform its promises.
 4
     38.     In reliance on XTRA’s good faith intent to fulfill its contractual obligations, and on th
 5

 6   promises and representations of Defendants Visconti, Finazzo and Lotter, and with thos

 7   Defendants’ knowledge and/or reasonable expectation, the Business Plaintiffs associated an

 8   agreed with each other to arrange and provide for the entertainment, food and lodging of a
 ~   anticipated average of 2,000 Chinese tourists per month to be transported to Saipan via XT

10   Airways charter flights. The Business Plaintiffs, and each of them, took actions, made plans,

11
     incurred expenses, and forewent other business opportunities in anticipation of and preparatio
12
     for hosting these tourists.
13

14   39.     Also in reliance on the proinises and representations of Defendants, and with Defendants’

15   knowledge and/or reasonable expectation, Dream Pacific sold air tickets and travel packages     t

16   and from Saipan to the Tourist Plaintiffs, who in turn relied on the promises and representation
17   of Defendants to purchase such air tickets and travel packages, and to take actions, make plan

18
     and incur expenses in anticipation of and preparation for their Saipan vacations.
19
                                   C. The Plan Fails, as Defendants Intended.
20

21   40.      Charter flights on XTRA Airways between Saipan and China plan began in Septembe

22   2017, and several round-trip flights took place in September and October 2017 between Saipai~

23   and Nanjing, and between Saipan and Tianjin.

24   41.      Rather than the agreed and anticipated two aircraft, however, XTRA supplied only one

25   plane to provide service for charter flights: a twin-engine B737-800 passenger aircraft, with 186

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     passenger seats. Defendants Visconti, Fmazzo and Lotter, directly or through agents, continued
27
     to falsely represent to Dream Pacific that a second plane would be provided, even after, on
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                                                       11
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 12 of 25




1    information and belief, the second aircraft that they had originally claimed was intended for th

2    Saipan routes had been leased by XTRA to another company and was no longer available fo

 3
     Dream Pacific charters.
 4
     42.     Furthermore, even the single plane XTRA provided was not fit for its intended purpose.
 5

 6   Twin-engine aircraft such as the plane provided by XTRA are prohibited by FAA “ETOPS’

 7   (extended-range twin-engine operations) regulations from flying over a route that contains

 8   point further than one hour’s flying time from an adequate airport, at the approved one-engine-

 ~   inoperative cruise speed, unless the plane is ETOPS certified, which requires substantial aircra

10   modifications. The route from the United States followed by the plane on its way to Saipan, a

11
     well as the planned routes between Saipan and China, includes substantial distances over th
12
     Pacific Ocean more than one hour’s flying time from any adequate airport, but the plan
13

14   provided by Defendants was not ETOPS certified.
15   43.      Defendants Visconti, Finazzo and Lotter, directly or through agents, represented to

16   Dream Pacific that the planned routes between Saipan and China did not require its aircraft to b
17   ETOPS certified because there was an adequate airport at Iwo Jima, but in fact Plaintiffs ar

18   informed and believe that the Iwo Jima airport, at all times relevant herein, was not an adequat

19
     airport for ETOPS purposes, due to its inadequate runway surface and length, lack of weathe
20

21   forecasting service, frequent closures, and other reasons. Furtheniiore, on at least five occasion

22   on which XTRA operated charter flights between Saipan and Nanjing            —   on September 24,

23   September 29, October 8, October 13, October 27, 2017       —   the airport at Iwo Jima was not

24   operation.

25   44.      In addition to the aforesaid ETOPS violations, XTRA operated its Saipan!China flights in

26
     violation of other CAAC and FAA safety regulations, mcludmg but not limited to regulations
27
     concerning duty times and crew rest requirements. Defendants, including Defendant Conkling,
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                                                     12
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 13 of 25




1    who piloted several of the flights on which violations took place, did not inform Plaintiffs o

     these violations, despite their prejudicial effect on the viability of the Saipan/China charter flight~
3
     project.
 4
     45.        XTRA never flew the extra routes contemplated by Addendum 1, i.e., the routes to an
 5

 6   from Shenzhen and Wuhan. Nor did XTRA ever obtain the government approval necessary t

 ~   fly the Shenzhen and Wuhan routes. In fact, XTRA, unknown to Plaintiffs at the time, neve

 8   even applied to either the Civil Aviation Administration of China (CAAC) or the U.S.

 ~   Department of Transportation (DOT) for authorization to fly the routes between Saipan an

10   Shenzhen or Wuhan, nor did they apply for or obtain permission from DOT for frequencies ove

11
     200 block hours per month.
12
     46.        None of the Defendants ever informed Plaintiffs that the necessary applications to th
13

14   CAAC and the DOT for authorization to fly the Shenzhen and Wuhan routes had never bee

15   made.       On the contrary, Defendants Visconti, Finazzo and Lotter continued to represent          t

16   Dream Pacific, falsely, that the application process for approval of those routes was underway.
17   47.        On or about September 24, 2017, the CAAC assessed eight demerits against XT

18
     Airways for its failure to satisfactorily address various perniittmg concerns under CAA
19
     regulations. These demerits made it extremely unlikely that the CAAC would allow XTRA
20

21   Airways to expand its operations from Nanjing and Tianjin to any other airports in China,

22   including the airports in Shenzhen and Wuhan, even if it had sought such approval. However,

23   the Defendants who knew of these demerits and their likely effect did not inform Plaintiffs aboul

24   them, but rather deliberately withheld this information from Plaintiffs.

25    48.       On November 4, 2017, XTRA advised Dream Pacific that its sole plane on Saipan had

26
      suffered a mechanical problem which required parts that could only be obtained in the mainland
27
      United States. The passengers on the November 4, 2017, flight from Saipan to Tianjin hac
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                                                        13
             Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 14 of 25




1     already boarded the plane on Saipan expecting to return to China, but were deplaned at th

2     Saipan airport due to this reported problem.

3
      49.      XTRA had no second plane available for the deplaned passengers, or for the othe
 4
      Stranded Tourist Plaintiffs who were then present on Saipan and expecting to return to China i
 5

 6    the next several days. XTRA refused to feed, house, or otherwise accommodate the strande

 -~   tourists, including the Stranded Tourist Plaintiffs. XTRA also refused to repatriate or pay for th

 8    repatriation of the stranded tourists back to China, forcing Dream Pacific to house, feed an

 ~    repatriate them at Dream Pacific’s expense.

10
      50.      On or about November 10, 2017, after the plane was repaired, XTRA flew      it   back to th
11
      United States, declared the Aircraft Charter Agreement and Addendum 1 terminated, an
12
      provided no further charter services to or from Saipan. Dream Pacific asked XTRA to resum
13

14    air charter services, but XTRA refused to do so.

15    51.      As of November 10, 2017, approximately 2,000 intending tourists, including th

16    Intending Tourist Plaintiffs, had signed up and paid to fly round trip from China to Saipan an
17    back via XTRA Airways on various dates between November 10 and December 10, 2017, an

18
      all of their flights had to be cancelled. Many of these passengers were commg to Saipan fo
19
      weddings and vacation. Defendants gave no advance notice to any of the intending tourists o
20
      the cancellation of these flights.
21

22                        C. Defendants Wrongly Retain Dream Pacific’s Funds.

23    52.       On September 11, 2017, Dream Pacific caused an additional “security deposit” in the

24    amount of two hundred thousand dollars (US $200,000.00) to be wired to and deposited in

25    XTRA’s Wells Fargo Bank account in San Francisco, California.

26
       53.      In or about September and October 2017, Defendants Visconti, Fmazzo and Lotter.
27
       directly or through agents, represented to Dream Pacific that Dream Pacific needed to wire extra
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                                                         14
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 15 of 25




1    deposit monies to cover XTRA’s expenses in applying for authorization to fly between Saipai

2    and Shenzhen and Wuhan. Dream Pacific paid these deposits in reliance on this representation.

3
     This representation was false because XTRA was not making any such application.            Thi
4
     representation was made to defraud Dream Pacific.
5

 6   ~       In reliance on the aforesaid misrepresentation, Dream Pacific caused the followin

 ~   monies to be wired from Hong Kong and Beijing and deposited into XTRA’s account at th

 8   Wilmington Savings Fund Society in Wilmington, Delaware:

             US $43,500 on October 25, 2017
10           US $39,800 on October 25, 2017

11
             US $35,600 on October 25, 2017
12
             US $42,800 on October 25, 2017
13

14           US $38,300 on October 25, 2017

15           US $42,900 on October 26, 2017
16           US $34,600 on October 26, 2017
17           US $43,200 on October 26, 2017

18
             US $43,600 on October 26, 2017
19
     55.      After XTRA flew its aircraft back to the United States and declared the Aircraft Charte
20

21   Agreement terminated, Dream Pacific requested XTRA to refund the monies that Dream Pacifi

22   had wired, but XTRA refused to do so.

23   56.      XTRA also refused to pay the fees and deposits required for ground handling at the

24   Nanjing Airport, in violation of its obligations under the Aircraft Charter Agreement, forcing

25   Dream Pacific to pay Nanjing Airport authorities approximately US $100,000 for these expenses.

26
     XTRA also refused to pay LSG for supplying food and beverage for the charter service, as   it   was
27

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                                                     15
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 16 of 25




1    required to under the Aircraft Charter Agreement, so Dream Pacific was forced to make thes

2    payments as well.

3
                           D. Defendants’ Actions Were Willful and Malicious
 4
     57.      Defendants’ actions and omissions, as alleged herein, were willful, malicious, taken
 5

 6   bad faith for oppressive reasons, and evinced reckless disregard for human life and safety.

 ~   Plaintiffs are therefore entitled to recover punitive damages from Defendants as to all claim

 8   asserted herein for which such damages are lawfully available.

                                      FIRST CAUSE OF ACTION:
                                                   RICO
10                           (asserted by all Plaintiffs against all Defendants)

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     58.      The allegations in all the preceding and subsequent paragraphs of this Complaint ar
12
     repeated, re-alleged and incorporated here by reference, as if fully here set forth herein.
13

14   ~        At all times relevant to this action, Defendants, and each of them, were individuals o
i5   entities capable of holding a beneficial interest in property, and thus were “persons” within th

16   meaning of the Racketeer Influenced and Corrupt Organizations Act (hereinafter “RICO”), 18
17   U.S.C.   §   1961 etseq.,including18U.S.C~ 1961(3) and 1964(c).

     60.      At all times relevant to this action, Defendants participated, combined and conspired

     with one another in unlawful conduct and illegal schemes as herein alleged.
20
     61.      At all times relevant to this action, Defendants formed an association-in-fact for the
21

22   purpose of defrauding Plaintiffs. This association-in-fact (hereinafter the “Enterprise”) was an

23   “enterprise” within the intent and meaning of RICO, 18 U.S.C. § 1961(4).

24   62.      At all times relevant to this action, the Enterprise was engaged in, and its activities

25   affected, interstate and foreign commerce within the intent and meaning of RICO, 18 U.S.C. ~

26
      1926(c).
27

28

                                                       16
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 17 of 25




 1   63.      At all times relevant to this action, Defendants were associated with the Enterprise, an

 2   conducted or participated in the conduct of the Enterprise’s affairs through a “pattern o

 3
     racketeermg activity” within the meaning of RICO, 18 U.S.C. §1961(5), in violation of RICO, 18
 4
     U.S.C.   §   1926(c).
 5

 6   64.      Defendants have, in participation, combination and conspiracy with one another, an

 ~   through a pattern of racketeering activity and fraudulent and unlawful practices, defraude

 8   Plaintiffs, who are corporations and individuals immediately engaged in the interstate and/o

 ~   foreign commerce of the United States, with respect to their activities directly related t

10
     such commerce. In so acting, Defendants have violated 18 U.S.C.              §~   1962(b), (c) and (d).
11
     65.      Specifically, Defendants engaged in “racketeering activity” within the meaning of RICO,
12
     18 U.S.C.     §   1961(1), by engaging in the acts set forth above, which include, inter alia, devising
13

14   scheme to defraud, and for obtaining money by means of false representations and promises, an

15   transmitting and causing writings, signs, signals and sounds to be transmitted by means of wir
16   and/or radio communication in interstate and foreign commerce, for the purpose of executin
17   such scheme, in violation of 18 U.S.C.          §   1343, on numerous occasions, including but no

18
     limited to the wire money transfers of September and October 2017, which Defendants
19
     caused to be transmitted as alleged above, as well as numerous telephone calls and e
20

21   mails from Defendant Visconti and other XTRA personnel acting as the witting or

22   unwitting agents of Defendants Visconi, Finazzo and Lotter, to Edmond Xia, Phil

23   Nelson, and other Dream Pacific personnel, in August, September and October 2017,

24   demanding, first, that Dream Pacific agree to Addendum 1, and then, afier Addendum 1

25   was executed, making purportedly urgent demands for payment on multiple occasions.

26
     Plamtiffs are informed and believe that Defendants committed these acts willfully or with actual
27
     knowledge of the illegal activities.
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            Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 18 of 25




 1    66.     Plaintiffs allege upon information and belief that Defendants attempted to, conspired to

2     and did affect interstate and/or foreign commerce by the aforesaid acts of wire fraud in violatio

 3
      of 18 U.S.C.   § 1343.
 4
      67.     Plaintiffs allege upon information and belief that Defendants’ repeated violations of 18
 5

 6    U.S.C. § 1343 constituted a pattern of racketeering activity within the meaning of 18 U.S.C. §
 -~   1962(c). Plaintiffs allege upon information and belief that defendants’ unlawful conduct a
 8    alleged herein, including Defendants’ violations of 18 U.S.C.     §   1343, injured Plaintiffs in thei

 ~    business and/or property, because these acts caused Plaintiffs to enter into contracts, transfe

10    funds, make purchases, take actions, make plans, incur expenses and obligations, forego busines

11
      opportunities, and otherwise sustain damages in an amount that will be proven at trial.
12
      68.      In addition to any other damages to which they may lawfully be entitled, Plaintiffs ar
13

14    entitled to recover from Defendants threefold the damages they have sustained, and the cost o

15    the suit, including a reasonable attorney’s fee, pursuant to 18 U.S.C.   §   1964(c)(3).

16                                     SECOND CAUSE OF ACTION:
                                                    FRAUD
17                             (asserted by all Plaintiffs against all Defendants)

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      69.      The allegations in all the preceding and subsequent paragraphs of this Complamt are
19
      repeated, re-alleged and incorporated here by reference, as if fully here set forth herein.
20

21    70.      By and through their material misrepresentations and material omissions as set forth

22    above, Defendants perpetrated fraud against Plaintiffs, causing them to suffer substantial

23    economic damages. The material false representations and material omissions made by the

24    Defendants were knowingly false and deceptive when made, and were intended to, and did,

25    induce Plaintiffs to enter into contracts, including Addendum 1, transfer funds, make purchases,

26
      take actions, make plans, incur expenses and obligations, forego busmess opportunities, and tc
27
      take other actions which proximately caused damages to Plaintiffs.
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                                                        18
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 19 of 25




 1   71.     Plaintiffs, acting in good faith, reasonably relied upon the material representations o

2    Defendants relating to, inter a/ia, XTRA’s intention to perform Addendum 1, XTRA’s intentio

 3
     and ability to fly its scheduled and ticketed routes between Saipan and Chma; the number o
 4
     aircraft available and intended for use, including substitute aircraft in cases of necessity; XTRA’
 5

 6   ability to accommodate the volume of traffic contemplated and anticipated in the Aircra

 ~   Charter Agreement and Addendum 1; the lawful ability of the charters to fly to and from Chin

 8   without any ETOPS or other violations which could endanger passengers; the necessity o

 ~   ETOPS certification for the planes and routes proposed to be used; XTRA’s intention and abilit

10   to expand charter service to four Chinese cities, including Shenzhen and Wuhan; and the use an
11
     refundability of deposits paid to XTRA.
12
     72.     Defendants did pursue certain acts and conduct as alleged above to accomplish th
13

14   above unlawful scheme. In so doing, Defendants made false and fraudulent representations to
15   Plaintiffs as to material facts and information, and, further, made statements in which the

16   intentionally and willfully failed to disclose material facts and information for the purpose o
17   misleading Plaintiffs.

     73.      Plaintiffs were not knowledgeable as to the true facts and information whic

     Defendants willfully concealed.
20

21   74.      Plaintiffs reasonably relied on the false and misleading information, as Defendants

22   intended, and, as a direct and proximate result thereof~ were and continue to be injured as more

23   fully alleged herein.

24                                 THIRD CAUSE OF ACTION:
                       CONSUMER PROTECTION I UNFAIR COMPETITION
25
                          (asserted by all Plamtiffs agamst all Defendants)
26
     75.      The allegations in all the precedmg and subsequent paragraphs of this Complaint arc
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     repeated, re-alleged and incorporated here by reference, as if fully here set forth herein.
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            Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 20 of 25




1    76.      Defendants’ above-described conduct involved the use of deceptive methods, acts an

2    practices, and was unlawful, unfair and/or fraudulent in violation of the CNMI Consume

3
     Protection Act, 4 CMC        §   5100, et seq.
4
     77.      In addition, and in particular, Defendants’ conduct as aforesaid         -

 5

 6               a) caused the likelihood of confusion or of misunderstanding as to the approval o

 7                   certification of XTRA’s air charter services, in violation of 4 CMC             §~    5 105(c)

 8                   (e) and (1);

                 b) represented that XTRA’s air charter services had sponsorship, approval,
10                   characteristics and benefits that they did not have, in violation of 4 CMC                   §
11
                      5 105(e);
12
                  c) represented that XTRA’ s air charter services were of a particular standard, qualit
13

14                    or grade that the services did not meet, in violation of 4 CMC       §   5 105(g);
15                d) represented that XTRA’s plane and air charter services were fit for a particula

16                    purpose when they were not, in violation of 4 CMC § 5105(o);
17                e) introduced into commerce an unsafe aircraft which Defendants knew or shoul

                      have known was unsafe, and performed a service causing unsafe conditions, i

                      violation of 4 CMC         §    5 105(r);
20

21                f) inserted unconscionable provisions into the Aircraft Charter Agreement and

22                    Addendum 1, in violation of 4 CMC                §   5105(gg).

23    78.      Plaintiffs were aggrieved and damaged by Defendants’ conduct as aforesaid, in an

24    amount to be proven at trial, are entitled to those damages and, as liquidated damages, an amount

25    equal to their actual damages, as well as costs and reasonable attorney fees pursuant to 4 CMC ~

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      5112.
27

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                                                                  20
            Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 21 of 25




1    79•       The Tourist Plaintiffs are informed and believe that approximately 2200 persons exis

2    who are similarly situated to themselves (i.e., persons who held tickets on XTRA Airways fo

3
     flights to and/or from Saipan in November and December 2017, and whose flights were cancele
 4
     due to XTRA Airways’ abandonment of its Saipan routes) and may seek to constitute a clas
 5

 6   together with such persons pursuant to 4 CMC     §   5 112(b).

 7                                    FOURTH CAUSE OF ACTION:
                                               NEGLIGENCE
 8                            (asserted by all Plaintiffs against all Defendants)
 ~   80.       The allegations in all the preceding and subsequent paragraphs of this Complaint ar

10   repeated, re-alleged and incorporated here by reference, as if fully here set forth herein.

11
     81.       Defendants owed a duty to Plaintiffs to exercise reasonable care in the operation of &


13   charter services and in the performance of the Aircraft Charter Agreement and Addendum 1.
14   82.       Defendants breached their duty of care by, inter alia, failing to make a sufficient numbe

15   of aircraft available for use, including substitute aircraft in cases of necessity; failing to provid

16   ETOPS-certified aircraft capable of safely and lawfully flying the intended routes; failing to tak
17   the necessary steps to secure approval to fly into and out of Shenzhen and Wuhan; failing           t

18
     mform Plamtiffs of the failure to seek or obtam such approval, or to inform them of unsafe an
19
     unsound aviation practices being persistently and systematically carried on; abandoning tickete
20

21   passengers on Saipan without any accommodation or any means of return to China; and

22   abandoning air service to Saipan altogether without notice and without any good or sufficient

23    cause.

24    83.      Defendants’ aforesaid conduct was grossly negligent, in that Defendants intentionally

25    failed to perform multiple manifest duties in reckless disregard of the consequences as affecting

26
      the property of Busmess Plamtiffs and the lives and property of the Tourist Plaintiffs.
27

28

                                                          21
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 22 of 25




1    84.     Defendants’ aforesaid acts of gross negligence proximately caused damages to Plaintiffs,

2    who were distressed, burdened, forced to take actions, make plans, incur expenses an

3
     obligations, forego busmess opportunities, and incur other damages, all m an amount to b
4
     proved at trial.
 5
                                FIFTH CAUSE OF ACTION:
 6                 BREACH OF CONTRACT / INTERFERENCE WITH CONTRACT

 7                               (asserted by Dream Pacific against all Defendants)

 8   85.     The allegations in all the preceding and subsequent paragraphs of this Complaint ar
 ~   repeated, re-alleged and incorporated here by reference, as if fully here set forth herein.

10   86.     Dream Pacific at all times fulfilled its obligations under the Aircraft Charter Agreemen

11
     and Addendum 1.
12
     87.     XTRA breached the Aircraft Charter Agreement and Addendum 1 by
13

14           a.         failing to undertake all commercially reasonable efforts to return their aircraft   t

15           serviceable condition after it had mechanical problems in November, 2017;

16           b.         failing to provides a substitute aircraft when the last November charter wa
17            delayed beyond 48 hours;

18
              c.        failmg to make application for authorization to provide charter services to Wuha
19
              and Shenzhen;
20

21            d.        incurring CAAC demerits which prejudiced its ability to obtain authorization         t

22            expand its charter service after September 29, 2017, to other destinations in China;

23            e.        endangering passengers and crew in violating ETOPS rules and regulations fo

24            several flights in September and October, 2017;

25
                        refusing to return Dream Pacific , s escrow deposits after termmatmg its services;
                             .                        .                   .            .   .
              £
26
              g.        failmg to have its aircraft mamtamed, operated, qualified or fit for the commercial
27
              airlines operations undertaken under the Aircraft Charter Agreement;
28

                                                          22
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 23 of 25




 1           h.     failing to arrange and manage the operation costs at the Nanjing Airport whic

2            forced Dream Pacific to do so;

 3
             i.     failmg to apply for and/or use commercially reasonable efforts to obta
 4
             authorization and permits needed from governmental authorities in China necessary fo
 5

 6           XTRA Airways to perform the transportation services required under the Aircraft Charte

 7           Agreement;

 8           j.     failing to accommodate the passengers on the terminated November 4, 2017,

             flight, and other Stranded Tourists, by housing or feeding them on Saipan or by taking
10           any action to repatriate them back to China or reimburse Dream Pacific for its expenses

11
             in housing, feeding and transporting these passengers back to China;
12
             k.      endangering passengers and crew by overworking aircraft crews beyond time
13

‘4           limits required by law;
             1.      failing to supply more than one aircraft;

16           m.      failing to give the statutorily required notices of flight cancellation, as required by
‘~            14 CFR   §   380.27;

     88.     XTRA also breached the implied covenant of good faith and fair dealing that is inhereni

     in every contract, by reasons of its fraudulent and deceptive conduct as set forth herein.
20

21   89.      The other Defendants combined and colluded with XTRA to procure and accomplish thc

22   breaches of contract alleged herein.

23   90.      These breaches of the contract damaged Dream Pacific in an amount to be proven at trial,

24   an amount in excess often million dollars (US $10,000,000.00).

25   //

26
     //
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                                                        23
           Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 24 of 25




 1                                   SIXTH CAUSE OF ACTION:
                                       UNJUST ENRICHMENT
 2                         (asserted by Dream Pacific against all Defendants)

 3
     91.     The allegations in all the precedmg and subsequent paragraphs of this Complaint ar
 4
     repeated, re-alleged and incorporated here by reference, as if fully here set forth herein.
 5

 6   92.     Dream Pacific paid at least US $1.6 million to XTRA. These funds were misappropriate

 ~   by XTRA, pursuant to and in furtherance of the conspiracy alleged herein, and, based upo

 8   information and be1ief~ have been used by XTRA for its own purposes.

 ~   93.     The misappropriation and use of these funds constitutes unjust enrichment at Dreai

10   Pacific’s expense.

11
     94.     Dream Pacific is entitled to restitution of the misappropriated funds.
12
                                     SEVENTH CAUSE OF ACTION:
13                                         CONVERSION
14                          (asserted by Dream Pacific against all Defendants)

15   95.     The allegations in all the preceding and subsequent paragraphs of this Complaint ar

16   repeated, re-alleged and incorporated here by reference, as if fully here set forth herein.
17   96.     Dream Pacific paid at least US $1.6 million to XTRA into escrow accounts as securit

     deposits to be held by XTRA and returned to Dream Pacific.              XTRA, pursuant to and i

     furtherance of the conspiracy alleged herein, has failed and refused to return those deposits, and,
20

21   based upon information and belief, has instead unlawfully converted them to its own use,

22   contrary to their intended purpose.

23   97.      This conversion was unlawful and unauthorized, and these funds should be returne

24   either to Dream Pacific and/or their escrow account.

25   98.      As a result of this conversion, Dream Pacific has been damaged in an amount in excess o1

26               .

     US $1.6 million.
27

28

                                                       24
     Case 1:18-cv-00011 Document 1 Filed 04/05/18 Page 25 of 25




 1      WHEREFORE, Plaintiffs pray the Court for the following relief:

2             Compensatory damages, including damages for emotional distress;

 3
       2.     Lost profits;
 4
       3.     Other incidental and consequential damages;
 5

 6     4.     Liquidated damages;
       5.     Special damages in an amount to be proven at trial;

 8     6.     Rescission of Addendum 1;

       7.     Disgorgement of ill-gotten gains in an amount to be proven at trial;
10     8.     Restitution in an amount to be proven at trial;

11
       9.     Imposition of a constructive trust as to all ill-gotten gains;
12
        10.   Punitive damages in the amount of US $50,000,000.00;
13

14      10.   Attorney fees in an amount to be proven at trial;
15      11.    Costs of this action in an amount to be proven; and

16      12.    For such other and further relief as this Court deems just and proper.
17     Respectfully submitted this fourth day of April, 2018.

18                                            O’CONNOR BERMAN HOREY & BANES, LLC
19                                            Attorneys for Plaintiffs

20
                                                      /s/ Robert J. 0 ‘Connor
21                                            By: ____________________________

22                                                ROBERT J. O’CONNOR, ESQ.

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